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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 21-01526JVS(ADSx)                                                Date     November 17, 2021
 Title             Idamary Galluccio v Costco Wholesale Corporation, et al



 Present: The                    James V. Selna, US District Court Judge
 Honorable
                         Lisa Bredahl                                                  Not Present
                         Deputy Clerk                                                 Court Reporter


                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                          Not Present                                                  Not Present
 Proceedings:           (In Chambers)          ORDER TO SHOW CAUSE RE DISMISSAL
                                               FOR LACK OF PROSECUTION

       The Court, on its own motion, hereby ORDERS plaintiff(s) to Show Cause (OSC) in writing
no later than December 6, 2021, why this action should not be dismissed for lack of prosecution.
As an alternative to a written response, the Court will consider the filing of one of the following, as
an appropriate response to this OSC, on or before the above date:

    X     Joint Rule 26(f) Report with the Court’s Attached Exhibit A

       It is the plaintiff’s responsibility to respond promptly to all orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time under Rule 55 remedies
promptly upon default of any defendant. All stipulations affecting the progress of the case must be
approved by the Court. Local Rule 7-1.

         Scheduling Conference set for November 22, 2021 at 10:30 a.m. is continued to December
13, 2021 at 10:30 a.m.


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                                                               Initials of Preparer         lmb




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